The Corporation for Public Broadcasting,

Case 1:25-cv-01305-RDM Document 8-1 Filed 04/30/25 Page 1of2

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

VS.

DONALD J. TRUMP, in his Official Capacity
as President of the United States of America, et al.

Plaintiff(s)

Case Number:

Nee Nee ee ee” ae ee”

Defendant(s)

DECLARATION FOR PRO HAC VICE ADMISSION
(to be attached to Motion for Pro Hac Vice Admission)

In accordance with LCvR 83.2 (c)(2) and LCvR 44.1 (c)(2), I hereby declare that

the answers to the following questions are complete, true, and correct:

1,
2.
3.

Full Name: Jeffrey Scott Robbins

State bar membership number: 421910
Business address, telephone and fax numbers: Saul Ewing, LLP
131 Dartmouth Street, Suite 501, Boston, MA 02116; (tel. no.) 617-912-0916; (fax no.) 857-400-3788

List all state and federal courts or bar associations in which you are a member “in good standing”

to practice law: Massachusetts; U.S. Supreme Court; First Circuit Court of Appeals; U.S. District
Court for District of Massachusetts

Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
good standing” status, or otherwise disciplined by any court, bar association, grievance committee

or administrative body? Yes [| No

Have any proceedings which could lead to any such disciplinary action been instituted against you

in any such bodies? Yes [| No

(Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

List the number of times the attorney has been admitted pro hac vice into this court within the last

two years. 4

(If your principal office is located in the District of Columbia, please answer questions 8 and 9.)
Are you a member of the DC Bar? No

Do you have a pending application for admission into USDC for the District of Columbia? No
Case 1:25-cv-01305-RDM Document 8-1 Filed 04/30/25 Page 2 of 2

In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
ead counsel in a contested evidentiary hearing or trial on the merits further certifies that he/she:

(CHECK ALL ITEMS THAT APPLY)

1. [| has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was

entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

9; [| has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR

44.1(b)(2)]; OR

3 has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
‘ [|] by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]

I declare under penalty of perjury that the foregoing is true and correct. “WC
Y(70( 2029

DATE (JSIGNATURE OF ATTORNEY
